                              NO.  07-10-0114-CR
					 
	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL B

	OCTOBER 12, 2010

	______________________________


	WILLIE GENE MILES,

									Appellant

	v.

	THE STATE OF TEXAS,

									Appellee
	_____________________________

	FROM THE COUNTY COURT AT LAW NO. 8 OF TRAVIS COUNTY;

	NO. C-1-CR-09-211566; HON. CARLOS BARRERA, PRESIDING
	______________________________
                                       
                                   Dismissal
                        ______________________________

Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
	Appellant, Willie Gene Miles, appeals his conviction for driving while intoxicated.  After abating the cause, this court received a supplemental clerk's record wherein a motion to dismiss the appeal signed by both appellant and counsel had been filed in Travis County on October 1, 2010.  Therefore, the conditions precedent to the voluntary dismissal of an appeal, see Tex. R. App. P. 42.2(a), have been satisfied. 
Accordingly, we reinstate the appeal, grant the motion, and dismiss the appeal.  And, having dismissed same on appellant's own motion, no rehearing will be entertained, and the mandate shall issue forthwith.

Per Curiam
 
Do not publish.
